C.ase 2:12-cv-00361-.]DL Document 132-6 Filed 03/16/15 Page 1 of 7 Page|D #: 3744

UNITED STATES DISTRICT COURT
DISTRICT OF MAINE
AMERICAN AERIAL SERVICES, INC.,
Plaintiff
DOCKET NO: 2:12-CV-00361-GZS

V.

TEREX USA, LLC, and
THE EMPIRE CRANE COMPANY, LLC,

Defendants
PLAINTIFF AMERICAN AERIAL SERVICES, INC.’S
DISCLOSURE OF EXPERT WITNESSES

Pursuant to Fed.R.Civ.P. 26, Plaintiff American Aerial Services, Inc. (“American

Aerial”), makes the following disclosure of expert witnesses:
l. Dennis Eckstine

Eckstine & Associates

10817 Partridge Drive

Waynesboro, PA 17268

Mr. Eckstine has extensive experience in cranes and crane manufacturing; his education
background and experience is set forth in the CV attached to his report. Mr. Eckstine has been
retained as an expert in connection with the litigation of this matter and has submitted a report
consistent with Fed.R.Civ.P. 26(a)(B) which is attached as Exhibit A.

Mr. Eckstine is expected to testify that the crane purchased by American Aerial from
Terex USA, LLC contained significant and substantial defects Which prevented American Aerial
from using the crane in its crane rental and steel erection business. 'l` he defects in the Model
T780 crane are set forth in the attached report from Mr. Eckstine and Mr. Eckstine is expected to
testify consistent with that report. As a result of the defects in the Model T780, Mr. Eckstine is

an LLC
EXH|B|T

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expected to testify that Defendants Terex USA, LLC and The Empire Crane Com

    

 

    

Case 2:12-cv-00361-.]DL Document 132-6 Filed 03/16/15 Page 2 of 7 Page|D #: 3745

materially breached the purchase and sale contract and warranties related to the Model T780
crane.

Mr. Eckstine may review additional documents which have not yet been produced by
Defendants in discovery and may have additional or supplemental opinions and conclusions

2. Edward P. Cox, Ph.D, P.E., CWI

Haag Engineering

625 lndustrial Boulevard

Sugar Land, TX 77478

Mr. Cox is a professional engineer and has extensive experience in welding and in cranes
as shown on the CV attached to his report. Mr. Cox is an expert retained in the litigation and has
issued a report pursuant to Fed.R.Civ.P. 26(a)(B) which is attached as Exhibit B. Mr. Cox is
expected to testify consist with that report. Mr. Cox is likely to review additional documents
including documents not yet produced by Defendants in discovery. After review of those
docurnents, as Well as other discovery material, Mr. Cox may have additional and/or
supplemental conclusions and opinions

3. Reginald E. Perry, CPA\ABV, BVAL, CVA, CFFA

PFBF

46 Fir_st Park Drive

Oakland, ME 04530

Mr. Perry is a certified public accountant His background and education are set forth in
the CV attached to his report. Mr. Perry is an expert retained for the litigation and has issued a
report pursuant to Fed.R.Civ.P. 26(a)(B) which is attached hereto as Exhibit C. Mr. Perry is
expected to testify consistent with that report.

Since discovery is not yet completed in this matter, after review of additional material

produced in discovery, Mr. Perry may have additional opinions and conclusions

Case 2:12-cv-00361-.]DL Document 132-6 Filed 03/16/15 Page 3 of 7 Page|D #: 3746

4. J ames Read

American Aerial Services, Inc.

33 Allen Avenue Extension

Falmouth, ME 04105

Mr. Read is the owner and president of American Aerial Services, Inc. and is not an
expert retained for litigation Mr. Read is expected to testify as a fact witness concerning the
problems and defects with the Model T780 crane and the impact on American Aerial’s business
This testimony of Mr. Read will also be based on his expertise in the steel erection and crane
business from years in that industry. Mr. Read is expected to testify that he purchased the Model
T7 80 crane in December 201 1 and he expected to be able to utilize the new Model T780 crane to
expand and enhance the crane rental business of American Aerial. The Model T780, because of
the numerous defects including manufacturing defects, was not able to be utilized in American
Aerial’s crane rental business or effectively used in its steel erection business after resulting in
substantial losses to American Aerial. Mr. Read is expected to testify that American Aerial
expended $30,700 on sales tax; $14,260 for excise tax; $3,227.86 payment to Cummins; $89,768
in substitute crane rental expense through July 31, 2013 and continuing; approximately $15,000
.in labor cost related to crane rental; approximately $5,000 in crane insurance; approximately
$17,000 in interest expense on borrowed money; $36,915.83 in interest on crane finance loan;
and approximately $10,000 in management time on crane problems Mr. Read may also testify
that American Aerial incurred additional overtime labor costs because of the unavailability of the
l\/Iodel T780. In addition, Mr. Read may also testify as to the cost of remedying the defects in the
Model T780 crane, as well as the diminished value of the Model T780 crane because of those

defects Mr. Read may also testify as to the damages incurred by American Aerial calculated by

Mr. Perry and contained in Mr. Perry’s report.

Case 2:12-cv-00361-.]DL Document 132-6 Filed 03/16/15 Page 4 of 7 Page|D #: 3747

5. Paul H. Roberts

Roaring Brook Consultants, Inc.

15 Sewall Road

South Berwick, ME 04908

Mr. Roberts performed an inspection of the Model T780 crane on August 30, 2012,
before this litigation was filed. Mr. Roberts is not an expert retained to provide expert testimony
in this litigation. Mr. Roberts has issued a report of his inspection and that report is attached
hereto as Exhibit D.

Mr. Roberts is expected to testify that the Model T780 crane failed the inspection on
August 30, 2012 performed pursuant to OSHA standards The deficiencies determined to exist
during his inspection are listed in the attached report and those deficiencies include defective
welds on the Model T780 jib and boom. Mr. Roberts is expected to testify that the failure of the
Model T780 crane to pass the OSHA inspection meant that the Model T780 crane could not be
put back into service in the condition it existed in at the time of the inspection.

6. Thomas Beverly

KB Inspection Service

220 Industrial Way

Portland, ME 04101

Mr. Beverly and KB Inspection Service performed a nondestructive examination of the
Model T780 crane in September 2012. Mr. Beverly’s testimony is expected to be consistent with
the report attached hereto as Exhibit E including the fact that the Model T780 crane had
defective Welds in the jib and boom.

7. Brian D. O’Connell
Shawmut Equipment Company, Inc.

20 Tolland Turnpike
Manchester, CT 06042

Case 2:12-cv-00361-.]DL Document 132-6 Filed 03/16/15 Page 5 of 7 Page|D #: 3748

Mr. O’Connell is a vice-president at Shawmut Equipment Company, lnc. and has
experience and expertise in mobile truck cranes and the servicing and repairs for mobile truck
cranes Mr. O’Connell has not been retained as an expert in this litigation Mr. O’Connell is
expected to testify that the quotation dated July 23, 2013 and attached hereto as Exhibit F is a
reasonable estimate of the cost of the repairs listed on Exhibit F. Further, Mr. O’Connell is
expected to testify that, although Shawmut Equipment Company is not a Terex dealer, he is
familiar with Terex cranes and the repairs quoted are for a make and model Grove crane that is
comparable to the Model T780 Terex crane,

Additional Experts and Expert Testimonv

American Aerial reserves the right to add additional experts, as well as provide additional
and/or supplemental designated testimony. The above designated experts are expected to review
discovery material not yet provided by Defendants, as well as the expert disclosures and reports
provided by other parties in this litigation, accordingly the above designated experts may have
additional and/or supplemental opinions and conclusions

American Aerial incorporates by reference and reserves the right to call as expert
witnesses any and all expert witnesses designated by all other parties

American Aerial reserves the right to call the individuals listed herein to testify at trial,
but does not affirmatively represent that any such individual will ultimately be called to testify at
trial. American Aerial also reserves the right to designate other expert witnesses should any of
the experts become unavailable for trial. This disclosure statement does not include witnesses

who have information relevant for the purposes of contradiction, rebuttal, or impeachmentl

Case 2:12-cv-00361-.]DL Document 132-6 Filed 03/16/15 Page 6 of 7 Page|D #: 3749

Dated at Portland, Maine this 5th day of August, 2013.

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Case 2:12-cv-00361-.]DL Document 132-6 Filed 03/16/15 Page 7 of 7 Page|D #: 3750

CERTIFICATE OF SERVICE

I, John A. Hobson, Esq., attorney for Plaintiff American Aerial Delivery, LLC, hereby
certify that on August 5, 2013, l served a copy of Plaintift’s Disclosure of Expeit Witnesses, via
the United States Postal Service, First Class Mail, on the following counsel of record:

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